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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     AARON SENNE, et al.,                                Case No. 14-cv-00608-JCS
                                                         Plaintiffs,
                                   8
                                                                                             ORDER OF REFERENCE TO
                                                    v.                                       DISTRICT JUDGE JACQUELINE
                                   9
                                                                                             SCOTT CORLEY FOR SETTLEMENT
                                  10     OFFICE OF THE COMMISSIONER OF
                                         BASEBALL, et al.,
                                  11
                                                         Defendants.
                                  12
Northern District of California
 United States District Court




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                                                This matter is referred to United States District Judge Jacqueline Scott Corley
                                  14   to conduct a settlement conference at the convenience of her calendar.
                                  15            The parties will be advised of the date, time and place of the next appearance by notice
                                  16   from Judge Corley.
                                  17            IT IS SO ORDERED.
                                  18   Dated: May 3, 2022
                                  19                                                    ______________________________________
                                  20                                                    JOSEPH C. SPERO
                                                                                        United States Chief Magistrate Judge
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